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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

HORACE SAVOY, AND WIFE,                    §
TIFFANY SAVOY                              §
                                           §
VS.                                        §              CIVIL ACTION 1:17-CV-00126-RC
                                           §
MINSTAR TRANSPORT, INC.,                   §
RICHARD MCGOWLAN,                          §
KUBOTA TRACTOR                             §
CORPORATION AND MARUBENI                   §
TRANSPORT SERVICE CORP.                    §

                      PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                           FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF THIS COURT:

       COME NOW, HORACE SAVOY, AND WIFE, TIFFANY SAVOY, hereinafter

referred to as Plaintiffs and make and file this their Motion for Leave to File First Amended

Complaint and would show unto the Court as follows:

                                         I.
                            BRIEF STATEMENT OF ACCIDENT

       Plaintiff, HORACE SAVOY, (hereafter sometimes referred to as “SAVOY”)was injured

while working at the business premises of his employer, Beaumont Tractor Company, which is an

authorized distributor of Kubota products, including the subject RTV, which is a 4-wheeled Utility

Vehicle designed, marketed and/or distributed by Defendant, KUBOTA TRACTOR

CORPORATION, (hereafter “KUBOTA”) or its related entities.             Specifically, SAVOY was

injured when he was struck by a Kubota RTV as it was being off-loaded or driven off the 2nd or top

load level within a trailer/van owned by Defendant, MINSTAR TRANSPORT, INC., (hereafter

“MINSTAR”) running over SAVOY and causing him to fall to the ground causing severe and

permanent injuries, including broken bones in both wrists and his ankle and injuries to his head,

face, neck, low back. At the time SAVOY was struck by the RTV, it was being driven by

Defendant, RICHARD MCGOWLAN, employee of and truck driver for MINSTAR who had
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been hired by a logistics coordinator, Defendant, MARUBENI TRANSPORT SERVICE CORP.,

(heafter “MARUBENI”) to transport and deliver various Kubota equipment, parts and merchandise

to Kubota’s various distributors.

                                   II.
            PROCEDURAL HISTORY - MULTPLE STATE COURT ACTIONS

       This action removed to U.S. District Court was filed in Jefferson County, Texas state court

and styled Cause No. B-199,637; Horace Savoy, et ux vs. Minstar Transport, Inc., et al. Prior to

filing the instant removed suit, Plaintiff, SAVOY, filed a Rule 202 Petition to Investigate Potential

Claim against Defendants, MINSTAR and MCGOWLAN was was styled Cause No. E-199,174:

In the Name of Horace Savoy, Petitioner and identified MINSTAR and MCGOWLAN as

Respondents; however, Defendants, MINSTAR and MCGOWLAN, refused to engage in the Rule

202 pre-suit discovery process incorrectly alleging the Texas District Court did not have personal

jurisdiction despite that said Defendants voluntarily agreed to transport the subject RTV to

Beaumont, Texas. MINSTAR and MCGOWLAN further alleged that the State Court’s Order

Granting Pre-Suit Discovery was “void.”

       Even prior to the filing of the Rule 202 Pre-Suit Discovery Action, Plaintiffs’ counsel wrote

to Defendant, MINSTAR, requesting cooperation in the provision of relevant documents; however,

MINSTAR provided none of the requested information in response to the letter. See Exhibit A,

Plaintiff Counsel’s email to the MINSTAR’S agent and adjuster, Daniel French.

       Consequently, Plaintiffs have not had the opportunity to conduct any discovery from any of

the Defendants, with the exception of learning of the identity of Defendant, MARUBENI, incident

to the TRCP Rule 202 Pre-Suit action and obviously that the RTV was designed, manufactured and

distributed by a Kubota entity which is apparent from the markings on the RTV.




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                               III.
 ADMISSION IN NOTICE OF REMOVAL ESTABLISHES DESIGN DEFECT AND/OR
MARKETING DEFECT CAUSED OR CONTRIBUTED TO CAUSE THE KUBOTA RTV
      TO RUN INTO AND OVER PLAINTIFF - AMENDMENT NECESSARY

       Plaintiffs’ suit against KUBOTA is presently one plead only for negligence and gross

negligence relating to the shipping and transportion of the Kubota RTV. After refusing to provide

information in response to Plaintiff’s counsel’s pre-suit letter and again, prior to Plaintiffs’ TRCP

Rule 202 Petition for Pre-Suit Discovery, Defendants, MINSTAR and MCGOWLAN finally

disclosed in their Notice of Removal what occurred to cause MCGOWLAN to run into and over

Plaintiff, SAVOY, knocking him to the ground causing his injuries. Specifically, MINSTAR and

MCGOWLAN plead that MCGOWLAN “having accidently gotten a foot stuck next to the

throttle of an ATV when driving it off the trailer, resulting in inadvertently accelerating” the

RTV.    See Paragraph 11, Defendants’ Notice of Removal by Defendants, MINSTAR and

MCGOWLAN.          Prior to filing the instant suit and indeed Defendants’ Notice of Removal,

Plaintiffs had no knowledge of Defendants’ contention regarding the cause his loss of control over

the RTV striking Plaintiff since said Defendants would not respond to Plaintiffs’ pre-suit letter

request or the TRCP 202 Petition for Pre-Suit Discovery.

       The attached First Amended Complaint filed herewith asserts that the Kubota RTV was

defectively designed and mis-marketed and asserts §402A of the Restatement (Second) of Products

Liability strict liability causes of action for defective design and defective marketing against the

manufacturer of the Kubota RTV as referenced therein. Texas law imposes a duty upon the

manufacturer of the Kubota RTV to design an RTV, including the accelerator pedal within the

operators cab, in a manner reasonably free of foreseeable defects, including the design defect of foot

ensnaring or entrapment which could cause a loss of control by unintended acceleration, as alleged

in Plaintiffs’ First Amended Complaint. The foot entrapment of MCGOWLAN was apparently

material into his loss of control over the Kubota RTV because after striking and running over

SAVOY, MCGOWLAN’s unintended acceleration continued on causing additional property
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damage, including his striking of not one, but two trailers as well as the first Kubota RTV that had

been previously off-loaded.

        The manufactuer also owed a duty not only to warn of the potential for unintended

acceleration from foot entrapment, but also to instruct how to avoid foot entrapment in the first

instance, and failing that, how to discontinue or stop the unintended acceleration if the foot did

become entrapped. Numerous safer alternative designs existed, including designing the operator’s

cab in a manner which did not physically allow foot entrapment, and if so, allowed for an

emergency kill switch in the event of unintended acceleration, which had not been incorporated into

the design of this Kubota RTV.

        Had Plaintiffs been aware that Defendants, MINSTAR and MCGOWLAN were blaming

the cause of his unintended acceleration and loss of control because his foot became “stuck” in, near

or about the accelerator pedal causing the unintended acceleration, Plaintiffs’ original suit would

have alleged products liability casues of action against the manufacturer of the Kubota RTV.

Additionally, Plaintiffs assert a voluntary undertaking cause of action against several parties

involved in the loading of the Kubota RTV onto the 2nd or top level within the MINSTAR

van/trailer.

        Plaintiffs pray this Court grant them leave to file their Amended Complaint asserting

product liablity causes of action against the manufacturer, designer, marketer and/or distributor of

the Kubota RTV that ran over Plaintiff due to the design, marketing and distribution of the RTV

which allowed the operator’s foot to become “stuck” or entrapped in the accelerator controls

causing unintended acceleration and collisions not only into the Plaintiff, but also two trailers and

another RTV. Without the amendment, Plaintiffs would be prejudiced by objections opposing

discovery into the design and marketing of the accelerator controls of the RTV in this litigation.

Further, it would require to bring Plaintiffs deisgn defect and marketing defect claims in another

lawsuit.

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                                    IV.
    RECENTLY OBTAINED EVIDENCE ESTABLISHES MULTIPLE KUBOTA ENTITIES
    PLAYED DIFFERENT ROLES, PLAINTIFFS’ REQUEST LEAVE TO AMEND TO ADD
                        RELATED KUBOTA ENTITIES

        In addition to additional cuases of action, Plaintiffs seek to amend to name additional

Kubota entities associated with the design, manufacture, loading and shipment of the subject

Kubota RTV. Since the filing of this suit, Plaintiffs’ counsel came into possession of the actual

Packing List and Straight Bill of Lading generated in connection with the distribution, shipping and

transporation of the subject Kubota RTV. See Exhibit B attached to this Motion which is a true and

correct copy of the KMA Packing List and Straight Bill of Lading. While these documents

establish Defendant, KTC, was involved in the shipping and transportation of the subject RTV

which ran over Plaintiff as the “Bill To” party, these documents also establish the identity of other

Kubota entities involved. For instance, both the Packing List and the Straight Bill of Lading are

written on the letterhead of Defendant, KUBOTA MANUFACTURING OF AMERICA

CORPORATION.           See Exhibit B.     As well, the Straight Bill of Lading references that

Defendanbt, KUBOTA MANUFACTURING CORP. was the “shipper” of the Kubota RTV that

Plaintiffs alleged was defectively designed and marketed, as well as negligently loaded. Finally, the

secretary of state identifies another Kubota entity as Defendant, KUBOTA NORTH AMERICA

CORPORTION1. It is imperative all entities within the Kubota umbrella who participated in the

design, manufacturer, assembly, loading and distribution be brought into the same lawsuit. The

Packing List and the Straight Bill of Lading establish that additional entities had involvement in

manufacturing, shipping and/or paying for the shipment of the subject Kubota RTV. See Exhibit

B.


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  After Notice of Removal was received, on March 31, 2017, Plaintiffs’ counsel wrote to Counsel
for KUBOTA, the Kubota entity who was originally sued and the “Bill To” party on the attached
Exhibit B requesting that he identify any Kubota entities who were involved in the manufacture,
assembly, loading and/or shipping of the RTV or who owned the subject RTV. To date, counsel
for KUBOTA has not responded to Plaintiffs’ counsel or otherwise correctly identified who are
or should be proper parties in this litigation.
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         Further, the statements by counsel for Kubota attached to the Notice of Removal establish

that Defendant, KUBOTA, was “not the manufacturer of the RTV” making it necessary to sue the

entities identified in Plaintiffs’ First Amended Complaint and on the Packing List and Straight Bill

of Lading marked as Exhibit B, which counsel for the Plaintiff did not have at the time the suit was

filed.

         Plaintiffs have asserted that the loader of the RTV was negligent and grossly negligent.

Defendants, MINSTAR and MCGOWLAN have stated they did not load the load the RTV.

Furthermore, Counsel for KUBOTA also wrote in the email attached to the Notice of Removal that

“Maybe another Kubota entity did [load the RTV], but not KTC.”                For these reasons, it is

necessary to amend the Complaint adding these indispensable parties who are Kubota entities as

Defendants, all of whom are related to the orginal KUBOTA Defendants, some of whom are

identified on the Packing List and Straight Bill of Lading attached as Exhibit B.

         Additionally, Plaintiffs would show that the Kubota RTV’s are now shipped in a crate so

that they may be unloaded by a forklift or other mechanical means, instead of being driven off the

trailer as was done when MCGOWLAN’s foot became entrapped in the fuel accelerator pedal. It is

more likely than not that one of the other Kubota entities made Defendant in Plaintiffs’ First

Amended Petetition exercised their control and caused or contributed to cause this change to occur

which Plaintiffs’ allege should have occurred before the incident made the basis of this litigation.

         Plaintffs would be prejudiced by having to bring alternative causes of action against

multiple parties in different lawsuits in different jurisdictions.

                                                V.
                                            CONCLUSION

         Plaintiffs would be prejudiced if not permitted to file the Amended Complaint adding new

parties – all related to the original KUBOTA Defendant, one or more of which apparently loaded

the RTV – and alleging product defect, marketing and undertaking causes of action against the

original KUBOTA Defendant, as well as entities related to the original KUBOTA Defendant.
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        Plaintiffs and their counsel have acted diligently in attempts to find out who the potential

responsible parties are; however, they have received little cooperation in the provision of

information related to the occurrence and the identity of parties who caused or contributed to cause

the occurrence.

        This motion is not made for delay, but so that justice may be done.

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray this Court grant their Motion

for Leave to Amend so that the First Amended Complaint attached hereto may be accepted as filed

and for such other and further relief, both general and special, at law and in equity as Plaintiffs show

themselves justly entitled.



                                               Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       I HEREBY CERTIFY that I have conferred with opposing counsel in effort to determine
whether they are unopposed or opposed to the filing of this Motion; however, as of the filing of
this Motion the undersigned has not heard from any of opposing counsel in this regard.



                                                   _____________________________
                                                   GILBERT T. ADAMS III



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing instrument has been
served upon all known counsel of record in accordance with the Federal Rules of Civil Procedure
on this the 6th day of April, 2017.



                                                   _____________________________
                                                   GILBERT T. ADAMS III




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